Case 8:15-cv-00894-SCB-AEP Document 9 Filed 07/02/15 Page 1 of 2 PageID 30




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


  Samantha Latorre                                   Case No. 8:15-cv-00894-SCB-AEP

         Plaintiff,                                  Judge: Susan C. Bucklew

  v.                                                 Magistrate Judge: Anthony E. Porcelli

  Stellar Recovery, Inc.
                                                           PLAINTIFF’S NOTICE OF
         Defendant.                                      SATISFACTION OF JUDGMENT


         Now comes Plaintiff, through Counsel, to notify the Court that the Defendant has

  Satisfied the Judgment in the present Case.




                                                RESPECTFULLY SUBMITTED,


                                                By:      /s/ H. Karen Gatto __
                                                      H. Karen Gatto, Esq.

                                                      Of Counsel
                                                      Hyslip & Taylor, LLC, LPA
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                                                      Attorney for Plaintiff




  Date: July 2, 2015




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Case 8:15-cv-00894-SCB-AEP Document 9 Filed 07/02/15 Page 2 of 2 PageID 31




                                CERTIFICATE OF SERVICE

         I hereby certify that on July 2, 2015, I electronically filed the foregoing Notice.

  Pursuant by agreement of the Parties, service of this filing will be made by Electronic Mail

  to:



  Rachel Ommerman, Esq.
  Berman & Rabin, PA
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  National Counsel for Defendant



                                                            /s/ H. Karen Gatto




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